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 7                            UNITED STATES DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA
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10   FEDERAL NATIONAL MORTGAGE                            Case No.: 21-CV-615-CAB-JLB
     ASSOCIATION,
11
                                         Plaintiff,       ORDER TO SHOW CAUSE
12
     v.
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     GULF HARBOUR INVESTMENTS
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     CORPORATION et al.,
15                                    Defendants.
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17         Plaintiff filed its complaint on April 9, 2021. On May 11, 2021, Plaintiff moved for
18   a temporary restraining order [Doc. No. 4], but then withdrew the motion two days later
19   [Doc. No. 8]. One day after that, Plaintiff filed proofs of service purporting to indicate that
20   it had properly served both named Defendants with the summons and complaint on April
21   28, 2021. [Doc. Nos. 10, 11.] Neither defendant has appeared in this case. Under Rule 12
22   of the Federal Rules of Civil Procedure, a defendant must file a responsive pleading within
23   21 days after being served with the summons and complaint. Fed. R. Civ. P. 12(a).
24   Accordingly, Plaintiff is ORDERED TO SHOW CAUSE, on or before July 20, 2021,
25   why this matter should not be dismissed for failure to prosecute. If a request for entry of
26   default or a responsive pleading to the complaint is filed before July 20, 2021, the order to
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     Case 3:21-cv-00615-CAB-JLB Document 13 Filed 07/13/21 PageID.103 Page 2 of 2



 1   show cause will be discharged without further order from the Court. Failure to timely
 2   respond to this order will result in dismissal of this lawsuit.
 3         It is SO ORDERED.
 4   Dated: July 13, 2021
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